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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 13-cv-01945-WJM-SKC

   TYLER SANCHEZ,

          Plaintiff,

   v.

   DETECTIVE MIKE DUFFY and
   DETECTIVE HEATHER MYKES.

          Defendants.

   _____________________________________________________________

                        DEFENDANTS’ OBJECTIONS TO
                PLAINTIFF’S PROPOSED LIMITING INSTRUCTIONS
   _____________________________________________________________

          Defendants, Mike Duffy and Heather Mykes, by and through the Douglas County

   Attorney, hereby submit their objections to Plaintiff’s Proposed Limiting Instructions (Doc.

   No. 358). In support thereof, Defendants state as follows:

          1.      Plaintiff's Proposed Limiting Instruction on Polygraphs

           As Defendants understand the Omnibus Order [ECF 348], the Court deferred

   ruling on the effect the polygraph result may have on probable cause pending evidence

   that ADA Sugioka was aware of the evidence. The testimony at trial will be that Defendant

   Mykes had never dealt with a polygraph before, was uncertain of its admissibility, and

   went back and forth on whether it was appropriate to include the results in an affidavit.

   But she discussed the result with ADA Sugioka. ADA Sugioka will testify similarly. For

   these reasons, Defendants request that the Court await testimony before determining

   whether and to what extent a limiting instruction is needed to address the scope of
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   admissibility of the polygraph results.     Defendants believe a limiting instruction will

   ultimately not be necessary.

          Plaintiff further asserts that a limiting instruction will be warranted because he has

   allegedly “just determined that the July 22, 2009, Affidavit for Arrest Warrant was in fact

   filed with the criminal Court on July 22, 2009” by referring to a one-page Motion to Seal

   Affidavit that was filed on July 22, 2009. (Doc. No. 360 at 2.) The testimony at trial of

   Heather Mykes and Brian Sugioka—who signed the motion upon which Plaintiff relies—

   will not support Plaintiff’s assertion. Heather Mykes and Brian Sugioka will establish that

   the Affidavit for Arrest Warrant dated July 22, 2009 was submitted to the DA’s office and

   was not filed with the Court in July 2009. Furthermore, the Clerk of the Court has

   confirmed that the Court file does not contain an Affidavit for Arrest Warrant filed in July

   2009. (See Ex. A hereto.) Accordingly, the testimony on this issue will not establish

   grounds requiring Plaintiff’s proposed limiting instruction.

          In the event the Court concludes that a limiting instruction is needed, Defendants

   adopt and incorporate their objections to Plaintiff’s Proposed Instruction No. 10 in

   Defendants’ Objections to Plaintiff’s Proposed Disputed Jury Instructions and Verdict

   Forms (Doc. No. 324 at 9-10 & n.23-25) as if fully set forth herein. Plaintiff’s reliance on

   the jury instruction identified in U.S. v. Hall, 805 F.2d 1410, 1416 (10th Cir. 1986), is

   particularly inappropriate given that the law upon which the jury instruction has been

   abrogated. See U.S. v. Tenorio, 809 F.3d 1126, 1130 (10th Cir. 2015) (recognizing

   abrogation of U.S. v. Hall). Furthermore, the statement of law announced in U.S. v. Hall,

   was narrower than the language in the jury instruction. 805 F.2d at 1416 (“In this Circuit,

   polygraphs are not admissible to show that one is truthful.”) (emphasis added). The
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   proposed limiting instruction proffered by Plaintiff is also likely to be confusing to the jury

   in that, while acknowledging the polygraph results are relevant to Defendants’ state of

   mind, it also contradictorily suggests that the polygraph evidence should not be

   considered as evidence of anything. (See Doc. No. 358 at 1) (“In the federal courts, the

   results of a polygraph examination are not ordinarily admitted to show the existence or

   non-existence of a fact at issue.” (emphasis added)).

          2.     Plaintiff's Proposed Limiting Instruction With Respect to the Preliminary
                 Hearing

          Defendants object to Plaintiff’s proposed limiting instruction as confusing and

   mischaracterizing the law. Plaintiff’s instruction mischaracterizes the law on this issue.

   Defendants do not agree that the “standard” for probable cause is “different.” Specifically,

   the “standard” for demonstrating probable cause is establishing that a substantial

   probability existed that the suspect committed the crime. Shed v. Ok. Dep’t of Human

   Servs., 729 Fed. Appx. 653, 657 (10th Cir. 2018) (quoting Kerns v. Bader, 663 F.3d 1173,

   1188 (10th Cir. 2011)). Plaintiff’s reference to a different “standard” may confuse the jury

   in suggesting that the standard for establishing probable cause changes over the course

   of criminal proceedings.

          Additionally, while the judge at Plaintiff’s preliminary hearing ultimately voiced her

   decision not to make credibility determinations in concluding that probable cause existed,

   she was not prohibited from doing so. See, e.g., People v. Fortune, 930 P.2d 1341, 1345-

   46 (Colo. 1997) (existence of probable cause depends on the totality of the

   circumstances, and where information originates from untrustworthy source, there must

   be evidence of sufficient circumstances justifying the reliability of the speaker or the
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   credibility of the speaker’s information). Rather, that conclusion was necessarily informed

   by the judge’s full consideration of the substantial evidence presented by both sides.

          Defendants’ proposed limiting instruction more accurately enumerates the process

   for evaluating the impact of alleged misrepresentations and concealed facts set forth in

   Meacham v. Taylor.      The jury should be instructed to consider the impact of any

   misrepresentations of fact or concealed facts in the manner enumerated by the Tenth

   Circuit.

          Respectfully submitted this 21st day of November, 2018.

                                            OFFICE OF THE COUNTY ATTORNEY
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                                CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 21st day of November, 2018, I electronically filed
   the foregoing DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S PROPOSED LIMITING
   INSTRUCTIONS with the Clerk of Court using the CM/ECF system which will send
   notification of such filing to all parties of record.


                       /s/ Dawn L. Johnson

   Pursuant to USDC ECF Procedure V.C.5, a printed copy of this document with
   original signatures will be maintained by the Office of the Douglas County Attorney
   and made available for inspection upon request.
